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U.S. COURTS
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2675 W. wave Coun R°"d-C_A-M'§','$gmj§§§_“-
]\/[eridi;¢\n1 [[) 83642 CLEF\'K, DISTF'!|CT OF IDAHO
(208) 884-5437
Plaintifl` Appearing Pro Per
UNITED STATES DISTRICT COURT
DISTRICT OF lDAH()
MARY CHACE, An Individual, ) ease No. C l |/ OCT~ |‘i b`*§` /" H “/
)
Plaintiff, )
) COMPLA]N'I`
v. )
)
FIRST HORIZON HONfE LOANS, and ) 1. BREACH OF CONTRACT
FIRST HOR[ZON HOME LOAN ) 2. MISREPRESENTATION
CORPORATION, and METL[FE, and ) 3. FRAUI)
I\CETROPOLITAN LIFE INSURANCE ) 4. FAlLURE TO DISCLOSE
COMPANY, and LANDAN[ERICA ) 5. TRUTH IN LENDING
DEFAULT SERVICES, and ) 6. ABUSE OF PROCESS
LANDAMERICA NATIONAL LENDER ) 7. SPECIFIC PERFORMANCE
SERVICES, All Foreign Corporations )
Doing Business in the State of Idaho, DOES )
and ROES 1-10 )
) BY JURY TRIAL
Defendant. )

 

 

COMES NOW, the Plaintifl`, appearing propria persona, and for cause of action, complain
and allege as follows:
IURISDICTION
(UNITED STATES DISTRICT - DIVERSITY)
l_
Plaintiff, MARY CHACE, an individual, is, and at all times mentioned herein, residing in
Ada County, Idaho.
II.
Defendant, FIRST HORIZON HOl\/[E LOANS, and F[RST HORIZON HOME LOAN
CORPORATION, and METLIFE, and METROPOLITAN LIFE INSURANCE COMPANY, and

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LANDAl\/EERICA DEFAULT SERVICES, and LANDAMERICA NATIONAL LENDER
SERVICES, is, and at all times mentioned herein, are, or were, foreign corporations doing

business in the State of Idaho.
III.

Defendant, DOES and ROES 1-10 are unknown at this time a may be participants

unknown to the Plaintiff at the time of Hling, and by name, are doing business in the state of

Idaho.
IV.

That the herein dispute between the Plaintifl` and Defendant is under the jurisdiction of
United State District insofar that it is a diversity case pursuant to 28 U.S.C. § 1332.
V.
CAUSE OF ACTION
@REACH OF CONTRACT)

Allegations I. - IV. are hereby incorporated into this Cause of Action.
VI.

On or about July, 2004, Plaintil`f entered into contract with the Defendant FIRST
HORIZON HOM`E LOANS to render purchase of real property located at 2675 W. Wave Court,
Meridian, ]D 83642, more particularly described as:

Lot 39 in Block ll of HAVEN COVE NO. 7 SUBDIVlSION, according to the
official plat thereof`, filed in Book 77 ofPlats at Pages(s) 8018 and 8019, official

records of Ada County Idaho.
VII.

On or about August, 2007, Defendant FlRST HORIZON HOME LOA`NS lost,
misapplied or otherwise transferred funds or servicing rights to Defendant FIRST HORIZON
HOME LOAN CORPORATION.

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VIII.

On or about 19 October, 2007, Defendant FIRST HORIZON HOME LOAN
CORPORATION placed the account into collections and foreclosure

IX.

On or about 10 January, 2008, Plaintiff demanded an accounting of Defendant FIRST
HORIZON HOME LOAN CORPORATION’s and Defendant FIRST HORIZON HOME
LOANS’s account servicing by Qualiiied Written Request pursuant to RESPAL § 6 (Real Estate

Settlement Procedures Act).
X.

That said request for account servicing went unanswered and unheeded by either

Defendant.
XI.

On or about April, 2008, Plaintiff entered into a loan loss mitigation program with the
Defendant F[RST HORIZON HOM]E LOAN CORPORATION and Defendant FlRST
HORLZON HOME LOANS.

XII.

On or about June, 2008, Defendant FIRST HORIZON HOME LOAN CORPORATION
and Defendant F[RST HORlZON H()ME LOANS sold or otherwise transferred the loan or
servicing rights to Det`endant METLIFE and Defendant METROPOLITAN LIFE INSURANCE
COMPANY.

XIII.

On or about 6 November 2008, Defendant METLIFE and Defendant METROPOLITAN
LIFE INSURANCE COMPANY returned funds to them dated 28 October 2008 as “Partial
Payment Returned.”

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X[V.

On or about December 2008, ?laintifi` became aware Defendant METLIFE and Defendant
METROPOLITAN LIFE INSURANCE COMPANY placed the account into collections and
foreclosure with Defendant LANDAMERICA DEFAULT SERVICES and Defendant
LANDAMERICA NATIONAL LENDER SERVICES.

XV.

On or about 19 February, 2008, Plaintiff demanded an accounting of Defendant FIRST
HORIZON HOME LOAN CORPORATION’s and Defendant FIRST HORIZON HOME
LOANS’s account servicing by Qualified Written Request pursuant to RESPA § 6.

XVI.

On or about 19 February 2009, Piaintiff remitted documents to Defendant METLIFE and
Defendant METROPOLITAN LIFE INSURANCE COMPANY which included, but was not
limited to, hardship, contribution, benefit, income and expense letters, a divorce decree and bank

statements, qualifying Plaintifi` for a loan modification
XVII.

That Plaintiff is still awaiting written coniirmation of oral conveyance with Defendant

METLlFE and Defendant METROPOLITAN LlFE INSURANCE COMPANY of said loan

modification

XVIII_

Defendant LANDAMERICA DEFAULT SERVICES and Defendant LANDAMERICA
NATIONAL LENDER SERVICES has scheduled a foreclosure sale date of 28 April 2009.

XIX.

Defendants, and each of them, have not accepted any payments attempted from Plaintiff

since October, 2008.

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XX.
(MISREPRESENTATION and FRAUD)

Allegations I. - XIX. are hereby incorporated into this Cause of Action.
XX].

Defendants FIRST HORIZON HOME LOANS, and FIRST HORIZON HOME LOAN
CORPORATION, and N[ETLIFE, and IV£ETROPOLITAN LlFE INSURANCE COMPANY, and
LANDAMERICA DEFAULT SERVICES, and LANDAMERICA NATIONAL LENDER
SERVICES has committed a fraud against the Plaintiff upon discovery that the Defendant
M]£TLIF'E, the purported L"lender"" or “note holder” (herein now known as solely the “`Ioan
servicer”) has engaged in a pattern of fraud and deception across the country and the state of

IDAHO in attempting to foreclose residential properties after agreeing to loan modificationsl
XXII.

Defendant METLIFE is defined as a “loan servicer” under provisions set forth under the
Real Estate Settlement Procedures Act. Defendant METLIFE is not the owner, holder in due
course, or has been granted any possessive stake of the loan described in and between the Plaintiff
and Defendant FIRST HORIZON H()ME L()ANS as identified in Allegation VI. of the herein

Complaint.
XX]lI.

Plaintifi"s allegations that the Defendants, and each of them, have not been paid are false is
easily ascertainable by the lOk and 8k filings with Defendant METLIFE’s sworn filings with the
Securities and Exchange Commission (SEC), wherein the description of the above identified loan
transaction fits exactly with ALL similar loans that were securitized, traunched, and eventually

sold in shares to an undisclosed Investor, described as Defendant ROE No. l_
XX{V.

Defendant METLIFE has not disclosed the true holder in due course and the parties in

possession of endorsement of the note itself Plaintiff is informed and believes the Defendant

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METLIFE, the purported owners of these mortgage documents, misled Plaintiff and Defendants
LANDAMERICA DEFAULT SERVICES, and LANDAMERICA NATIONAL LENDER
SERVICES to believe they (Defendant METLIFE) held the note, contrary to the facts herein, and
initiated a foreclosure proceeding against PlaintiH` alleging in their foreclosure proceeding that

they are they are the true owners of the note.
XXV.

That Plaintif`f discovered Defendant METLIFE treats all loans in this manner and that by
granting Defendants LANDAMERICA DEFAULT SERVICES, and LANDAMERICA
NATIONAL LENDER SERVICES the right to foreclose said Defendants were giving Defendant
METLIFE the loan proceeds and the property, effectively double clipping the real estate

transaction’ s credit balance twice.
XXVI.

That based upon the sworn filings of Defendant METLIFE with the federal agency the
administers loans (either Federal National Mortgage Association [FNMA] or Federal Home Loan
Mortgage Corporation [FI-[LMC] or other similar agency to be discovered under subsequent
promulgation of the Secun`ties and Exchange Act of 1933), Defendant METLIFE admits payment
from its purchase or takeover ofDefendant FIRST HORIZON HOME LOANS.

XXVII.

That said payment occurred either prior to the loan closing or within days alter the loan
closing took place. According to those filings of the federal agencies as identified in Allegation
XXVI. of the herein Ccmplaint, hill payment plus fees were paid to Defendant FLRST HORIZON
HOME LOANS by a mortgage Aggregator, described as Defendant ROE No_ 2. The Defendant
“lender” or “note holder” FIRST HORIZON HOME LOANS never entered the loan on its
balance sheet or in its filings with the FDIC, or any regulatory agency or even to its shareholders
because the transaction was classified as a service transaction represented solely on Defendant

FIRST HORIZON HOME LOANS’s income statement

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XXVIII.

(EAILURE TO DISCLOSE INDISPENSABLE PARTIES
TO DEFEND FORECLOSURE ACTIOE)

Allegations I. - XXVII. are hereby incorporated into this Cause of Action.
XXIX.

DOES and ROES 3-10, and as to what role they play, is not apparent in the names of
entities used in the Plaintifl" s Complaint, and none of which is revealed by any Defendant

Plaintiff is informed and believes the public filings set forth, to wit:

Defendant METLIFE filed the foreclosure action and now is intent on taking title
to the property in addition to having been paid in full plus a fee for standing in for
the mortgage Aggregator (previously identified as ROE No.2), who was the “real
lender”, unregistered in the State of IDAHO to do business as an Investment Bank
(described as Defendant ROE No.3). ' The Aggregator took title as a trustee cfa
mortgage pool to which many loans were assigned, not necessarily all real estate
The Aggregator purportedly assigned, but did not record, some interest in the note
and mortgage in the instant action to a Special Purpose Vehicle (SPV) which was
owned and operated by yet a different Investment Bank (Described as Defendant
ROE No.4). The SPV was established by a Collateralized Debt Obligation
Manager (CDO Manager) (described as Defendant DOE No. 1) employed by said
Investment Bank. The CDO Manager established trenches within the SPV and
assigned parts of each pool to each tranche within the SPV. The hierarchy of
tranches guarantees and requires a misapplication of funds out of and contrary to
compliance with the terms of the subject mortgage security instrument and note.
The subject pieces of the pool, that includes pieces of the subject mortgage and
note, were then pledged to the buyers of certificates of debt instruments that were
backed by and in substance convertible into equity shares of ownership of the
subject mortgage and note. Each buyer received a share of the subject mortgage
and note along with a share of thousands of other mortgages and notes. Each
buyer was shown an AAA securities rating, insurance from AMBAC or similar
entity (Described as Defendant ROE No.S) and a credit default swap that
guaranteed payment of the revenue flow.

Thusly co-obligors were created along with insurance provisions, which Defendant
METL[FE failed to disclose at any time to Plaintiff` -‘ which Plaintiff may be able to avail herself
to said insurance provision -» or Defendants LANDAMERICA DEFAULT SERVICES, and

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LANDAMERICA NATIONAL LENDER SERVICES, and failed to plead that the holder of the
note had not been paid despite overcollateralization of the negotiable instruments and the creation

of a reserve pool to make payment, insurance, guarantees, and credit default swaps.
XXX.
(TRUTH IN LENDING AND ABUSE OF PROCESS)
Allegations I. - XXIX. are hereby incorporated into this Cause of Action.
XXXI.

That the failure to disclose the indispensable real parties, and all the fees paid to
the undisclosed parties is a violation of the Truth in Lending Act (TILA) 15 U.S.C. § 1601_ The
contract between Plaintiff` and Defendants, and each of thern, provides for a Good Faith Estimate
provided to Plaintiff`, and in fair dealing, in addition to breach, and total abdication of the fiduciary
duty owed by a lender to its borrower in which underwriting standards were reduced because the
“lender” did not perceive itself to be at n'sk, Defendants, and each of them, including those
undisclosed purchasers of insurance that qualifies as mortgage insurance, credit default swaps that
qualify as mortgage insurance, and guarantees from third parties, including but not limited to the
mortgagors whose negotiable instruments were also assigned to tranches that had lower priority
than that which the subject loan transaction was assigned, and the payments made by Plaintiff,
were in fact allocated and given not to the holder in due course of the subject mortgage and note,
but to the CDO manager for allocation to tranches and securities which held a higher place in the

hierarchy of the tranches within the SPV.
XXXII.

That the entire scheme was intended to trick or otherwise abuse investors into investing
their capital into securities that were unregistered and unregulated, using the Plaintiff’ s signature
as the issuer of the negotiable instrument which was perceived to give an inflated value to the

derivative Security purchased by those victimized investors

XXXIII.

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That this inflation of value was an exact reflection of the inflation of value that
Defendants, and each of them, and their coconspirators paid for when they hired an appraiser for
the loan closing Thus the borrower and the investor, the only real parties in interest to the

transaction were both tricked, cheated, and now foreclosed upon as the villains in someone else’s

scheme

XXXIV_

That the prosecution of a foreclosure action is by the owner and holder of the mortgage
and the note. The Defendants, and each of them, have no sufficient stake in the outcome and that
none of the Defendants bringing the claim are recognized in the law as being a real party in
interest entitled to bring the claim as of the date of the commencement of the action Plaintiff has
no proper entity against which he can assert affirmative defenses and claims regarding predatory

loan practices, misapplication of funds, fraud and other causes of action
XXXV.
(SPEC[FIC PERFORMANCE)
Allegations I. - XXXIV_ are hereby incorporated into this Cause of Action.
XXXVI.

Plaintiff and one of the Defendants has a contract for loan modification Plaintiff wishes
to enforce the provisions therein or otherwise modify the loan pursuant to mutual agreement as

identified in Allegation XVI. of the herein Complaint.

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PRAYER FOR RELIEF
WHEREFORE, Plaintifl` prays for judgment against the Defendant:

l. As and for the Defendant, and each of them, reinstate the loan pursuant to the loan
modification agreement.

2. As in the alternative, damages in the amount of 5150,000.00.
]. As and for Plaintiff’s costs and fees incurred herein
4. AS and for other and li.lrther relief as the Court deems just and proper in the
premises
DATED this 22nd day of April , 2009

 

 

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MARY c E, Pla.imin"

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